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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 OMAR OROZCO,
 individually and on behalf of
 all others similarly situated,


                   Plaintiff,

 vs.                                                  CASE NO. 6:17-CV-01751-GAP-KRS

 HIBBETT SPORTING GOODS, INC.,
 a foreign for-profit corporation


                   Defendant.
                                                /

                                JOINT NOTICE OF SETTLEMENT

           Plaintiff, Omar Orozco, and Defendant, Hibbett Sporting Goods, Inc., hereby notify this

Court that they have reached a resolution of the claims raised in this action and intend to request

dismissal jointly. The parties respectfully request that the Court stay all deadlines and retain

jurisdiction for any matters related to completing and/or enforcing any agreement between the

parties.

s/ Ian R. Leavengood______________                  s/ Jacqueline Simms-Petredis_________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served on the following counsel of

record by Notice of Electronic Filing, or, if the party served does not participate in Notice of

Electronic Filing, by U.S. First Class Mail, hand delivery, facsimile, or e-mail on this the 12th day

of January, 2018:

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